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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                     CR 15-82-GF-BMM-02

                  Plaintiff,                   FINDINGS AND
                                               RECOMMENDATIONS TO
       vs.                                     REVOKE DEFENDANT’S
                                               SUPERVISED RELEASE
 PAIGE LARANN DEMARCE,

                  Defendant.


                                     I. Synopsis

      The United States accused Ms. Demarce of violating her conditions of

supervised release by (1) failing to report for substance abuse testing, (2) failing to

report for substance abuse treatment, (3) submitting a diluted urine sample, and (4)

failing to make payments towards her court ordered restitution. She admitted to the

violations. Her supervised release should be revoked. She should be sentenced to

three months in custody, with thirty-three months of supervised release to follow.

                                      II. Status

      Mr. Snell pleaded guilty to Aggravated Identity Theft on February 8, 2016.

(Doc. 36.) United States District Judge Brian Morris sentenced her to seven days in

custody, with thirty-six months of supervised release to follow on December 5,


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2014. (Doc. 59.) She began her current term of supervised release on July 5, 2016.

      The United States Probation Office filed a Report on Offender Under

Supervision on September 25, 2016, notifying the Court that Ms. Demarce failed to

comply with substance abuse testing and treatment and used a prohibited substance

on two occasions. (Doc. 82.) The Court allowed her to continue her supervised

release.

      Petition

      The Probation Office filed a Petition for Warrant for Offender Under

Supervision on January 9, 2017, alleging that Mr. Demarce violated the terms of

her supervised release by (1) failing to report for substance abuse testing, (2)

failing to report for substance abuse treatment, (3)submitting a diluted urine

sample, and (4) failing to make payments towards her court ordered restitution.

(Doc. 84.) Judge Morris issued a warrant for her arrest based on the allegations in

the Petition. (Doc. 85.)

      Initial appearance

      Ms. Demarce appeared before the undersigned on February 7, 2017, in Great

Falls, Montana. Federal Defender Hank Branom accompanied her. Assistant

United States Attorney Jeffery Starnes represented the United States.

      Ms. Demarce said she had read the petition and understood the allegations.

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She waived the preliminary hearing, and the parties consented to proceed

immediately with the revocation hearing before the undersigned.

      Revocation hearing

      Ms. Demarce admitted that she violated the conditions of her supervised

release. The violations are serious and warrant revocation of her supervised

release.

      Ms. Demarce’s violation grade is Grade C, her criminal history category is I,

and her underlying offense is a Class B felony. She could be incarcerated for up to

thirty-six months and could be ordered to remain on supervised release for sixty

months, less any custody time imposed. The United States Sentencing Guidelines

call for three to nine months in custody.

      Mr. Branom recommended a two month sentence. Ms. Demarce exercised

her right of allocution and stated that she just found out she was pregnant. Mr.

Starnes recommended a sentence in the low-end of the guideline range.

                                   III. Analysis

      Ms. Demarce’s supervised release should be revoked because she admitted

violating its conditions. She should be sentenced to three months of incarceration,

with thirty-three months of supervised release to follow. This sentence would be

sufficient given the seriousness of the violations but not greater than necessary.

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                                  IV. Conclusion

      Ms. Demarce was advised that the above sentence would be recommended

to Judge Morris. The Court reminded her of her right to object to these Findings

and Recommendations within 14 days of their issuance. The undersigned

explained that Judge Morris would consider her objection, if it is filed within the

allotted time, before making a final determination on whether to revoke her

supervised release and what, if any, sanction to impose.

      The undersigned FINDS:

             Paige Larann Demarce violated the conditions of her supervised
             release by (1) failing to report for substance abuse testing, (2) failing
             to report for substance abuse treatment, (3)submitting a diluted urine
             sample, and (4) failing to make payments towards her court ordered
             restitution.

      The undersigned RECOMMENDS:

             The District Court should enter the attached Judgment,
             revoking Ms. Demarce’s supervised release and
             committing her to the custody of the United States
             Bureau of Prisons for three months, with thirty-three
             months of supervised release to follow.

        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

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Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may waive

the right to appear and allocute before a district judge.

      Dated the 13th day of February 2017.




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